52 F.3d 341
    NOTICE: Federal Circuit Local Rule 47.6(b) states that opinions and orders which are designated as not citable as precedent shall not be employed or cited as precedent.  This does not preclude assertion of issues of claim preclusion, issue preclusion, judicial estoppel, law of the case or the like based on a decision of the Court rendered in a nonprecedential opinion or order.Ernest C. MERTINS, Sr., Petitioner,v.DEPARTMENT OF the NAVY, Respondent.
    No. 94-3273.
    United States Court of Appeals, Federal Circuit.
    Aug. 12, 1994.
    
      ORDER
      LOURIE, Circuit Judge.
    
    
      1
      Upon consideration of Ernest C. Mertins, Sr.'s unopposed motion (1) to reinstate his appeal and (2) for a 30-day extension of time to file his brief, pending settlement negotiations,
    
    IT IS ORDERED THAT:
    
      2
      (1) The Court's June 30, 1994 dismissal order is vacated, the mandate is recalled, and the appeal is reinstated.
    
    
      3
      (2) Mertins' motion for an extension of time is granted.
    
    